
Wheeler, J.
The ground upon which the court sustained the demurrer and dismissed the case appears to have been the insertion in the petition of the words “ who sues for the use,” &amp;c., after the name of the plaintiff.
These words were inappropriate in this case, and should have been omitted. But they were inoperative, having no legal effect upon the rights of the parties to the suit, and may be treated as mere surplusage, which does not vitiate.
They did not have the effect to vitiate the substantial averments of the petition. We do not perceive that the petition is obnoxious to any fatal objection, and are of the opinion that the court erred in dismissing the ease. The judgment is therefore reversed and the cause remanded for further proceedings.
Judgment reversed.
